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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                              December 30, 2020
------------------------------------------------------------x
   EASY KNOCK, INC.                                           :
                                                              :
                                                              :            20-cv-8491 (ALC)
                           Plaintiff,                         :
                     -against-                                :               ORDER
                                                              :
   KNOCKAWAY INC.,                                            :
                                                              :
                           Defendant.                         :
                                                              :
------------------------------------------------------------x

ANDREW L. CARTER, JR., United States District Judge:

        The Court denies Plaintiff’s request for a pre-motion conference. (ECF No. 19.) The Parties

shall meet and confer regarding whether an amendment would obviate the need for motion

practice. The Parties shall file a joint status letter by January 13, 2021.

SO ORDERED.

Dated: December 30, 2020                            ___________________________________

        New York, New York                                        ANDREW L. CARTER, JR.
                                                                  United States District Judge
